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CASE 318-EV-OF TER TAMAS ocument | Filed ole Page 1 of 2
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

[_)

 

 

 

 

DEIRDR R GIRARDI

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CLIENT RESOLUTION MANAGEMENT, LLC,
CASE NO: 2:19-CV-02188-JAM-AC

TO: Client Resolution Management, LLC
Defendant's Address:
1675 Niagara Street
Buffalo, New York 14213

YOU ARE HEREBY SUMMONED and required to serve on

Nicholas Michal Wajda

Wajda Law Group, APC

6167 Bristol Parkway, Suite 200
Culver City, CA 90230

an answer to the complaint which is served on you with this summons, within 21 days after

service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint. Any answer that you serve
on the parties to this action must be filed with the Clerk of this Court within a reasonable period

of time after service.

MARIANNE MATHERLY
CLERK

 

/s/ M. York

 

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ISSUED ON 2019-10-30 09:52:44.0 , Clerk
(By) DEPUTY CLERK TeGE Cone

 
Case 2:19-cv-02188-JAM-AC Document4 Filed 11/20/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. _2:19-Cv-02188-jam-ac

 

 

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) Client Resolution Management LLC

 

was received by me on (date) November 5, 2019

 

| personally served the summons on the individual at (place) 1675 Niagara St, Suite 3, Buffalo, NY 14213
POSTED TO LOCKED DOOR on (date) November 12,2019  ; or

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

 

» 4 person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or
C I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

 

On (date) 5 or
CI I returned the summons unexecuted because ;or
[7 Other (specifi):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true. \

Date: __ November 18, Kg b a

\ an ‘s signature

 

 

 

 

 

 

Michael Hadden - Process Server
Printed name and fitle

 

PO Box 1932
Amherst, NY 14226

 

Server's address

Additional information regarding attempted service, etc:

Door Locked, PS can hear activity inside, no answer after knocking loudly.

   
